

People v Gonzalez (2025 NY Slip Op 01899)





People v Gonzalez


2025 NY Slip Op 01899


Decided on April 01, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 01, 2025

Before: Manzanet-Daniels, J.P., González, Shulman, Rodriguez, Pitt-Burke, JJ. 


Ind. No. 844/18|Appeal No. 4005|Case No. 2019-04670|

[*1]The People of the State of New York, Respondent,
vNelson Gonzalez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Clara Hammond-Oakley of counsel), for appellant.



Judgment, Supreme Court, Bronx County (George Villegas, J.), rendered May 9, 2019, convicting defendant, upon his plea of guilty, of attempted criminal possession of a weapon in the second degree, and sentencing him to a term of two years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed on defendant at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.	
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 1, 2025








